            Case 2:21-cr-00388-TS Document 74 Filed 12/13/22 PageID.257 Page 1 of 7
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                        District
                                  __________     of Utah
                                              District of __________
                                                 )
           UNITED STATES OF AMERICA              ) JUDGMENT IN A CRIMINAL CASE
                       v.                        ) (For Revocation of Probation or Supervised Release)
                                                 )
            JEFFREY MICHAEL RYANS                )
                                                 ) Case No. DUTX2:21cr00388-001 TS
                                                 ) USM No. 71870-509
                                                 )
                                                 ) Edwin Wall, CJA
                                                                                                   Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                        1-8 of the petition               of the term of supervision.
G was found in violation of condition(s) count(s)                                     after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                  Violation Ended
1                             Dft failed to comply with Location Monitoring as directed

2                               Dft submitted urine testing positive for marijuana
3                               Dft failed to comply with Location Monitoring as directed
4                               Dft failed to comply with Location Monitoring as directed

       The defendant is sentenced as provided in pages 2 through               8      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 4991                                                    12/12/2022
                                                                                              Date
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                                                                                                                       Judgment
                                                                                                                          gment
                                                                                                                             nt
Defendant’s Year of Birth:          1983

City and State of Defendant’s Residence:                                                             Signature
                                                                                                     Sign
                                                                                                       gn
                                                                                                        nature of Judge
West Valley City, UT
                                                                                    Honorable Ted Stewart, U.S. District Judge
                                                                                                   Name and Title of Judge


                                                                                                       12/12/2022
                                                                                                               Date
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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1A

                                                                                           Judgment—Page   2    of    8
DEFENDANT: JEFFREY MICHAEL RYANS
CASE NUMBER: DUTX2:21cr00388-001 TS

                                                  ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number               Nature of Violation                                                             Concluded
5                              Dft submitted a urine sample positive for marijuana

6                              Dft failed to comply with Location Monitoring as directed

7                              Dft failed to comply with Location Monitoring as directed

8                              Dft used and/or possessed alcohol
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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   3       of   8
DEFENDANT: JEFFREY MICHAEL RYANS
CASE NUMBER: DUTX2:21cr00388-001 TS


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :

3 MONTHS



     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                 G a.m.         G p.m.       on                                         .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                           .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
            Case 2:21-cr-00388-TS Document 74 Filed 12/13/22 PageID.260 Page 4 of 7
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                                 Judgment—Page     4     of       8
DEFENDANT: JEFFREY MICHAEL RYANS
CASE NUMBER: DUTX2:21cr00388-001 TS
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :


 31 MONTHS




                                                  MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.     G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     ✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
       G
6.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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  AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                         Sheet 3D — Supervised Release
                                                                                          Judgment—Page    6     of      8
  DEFENDANT: JEFFREY MICHAEL RYANS
  CASE NUMBER: DUTX2:21cr00388-001 TS

                                       SPECIAL CONDITIONS OF SUPERVISION

1. All previously imposed special conditions are reimposed.

2. You must submit to the form of location monitoring technology, at the discretion of the probation officer, for a period of 4
months, and abide by all technology and program requirements. You must pay all or part of the costs of participation in the
location monitoring program as directed by the probation officer. Home Detention. You are restricted to your residence at
all times except for employment, education, religious services medical, substance-abuse or mental health treatment,
attorney visits, court appearances, court-ordered obligations, or other activities pre-approved by the probation officer.
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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 5 — Criminal Monetary Penalties

                                                                                                     Judgment — Page    7    of      8
DEFENDANT: JEFFREY MICHAEL RYANS
CASE NUMBER: DUTX2:21cr00388-001 TS
                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                   Assessment                5HVWLWXWLRQ                     )LQH              $9$$$VVHVVPHQW           -97$$VVHVVPHQW
TOTALS          $ 0.00                     $ 0.00                        $ 0.00              $ 0.00                    $ 0.00


G The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                              Total Loss***                            Restitution Ordered            Priority or Percentage




TOTALS                               $                          0.00            $                      0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the            G fine           G restitution.
      G the interest requirement for the          G fine             G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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 AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                        Sheet 5A — Criminal Monetary Penalties
                                                                                       Judgment—Page    8    of      8
 DEFENDANT: JEFFREY MICHAEL RYANS
 CASE NUMBER: DUTX2:21cr00388-001 TS

                   ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES


1. Any outstanding balance of any monetary obligation imposed for the original offense is reinstated. The defendant is
remanded to the custody of the USMS.
